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 4
     Attorney for Defendant
 5   Louie Salazar
 6                        IN THE UNITED STATES DISTRICT COURT
 7                 IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA                 )   Case No. Cr.S 10-299-07 WBS
 9                                            )
              Plaintiff                       )   STIPULATION AND PROPOSED
10
                                              )   ORDER CONTINUING
11
                      v                       )   STATUS
                                              )   ORDER (PROPOSED)
12   LUIE SALZAR                              )
                                              )
13            Defendant                       )
                                              )
14

15       It is hereby stipulated between the parties that status in
16   this matter, as to this defendant only, be continued to April 25,
17
     2016. The parties are engaged in discussions that may lead to
18
     resolution and the government is in the process of providing
19
     defendant with additional discovery.
20
         For the purpose of computing time under the Speedy Trial Act,
21
     18 U.S.C. § 3161, et seq., within which trial must commence, the
22
     time period of February 8, 2016 to April 25, 2016 inclusive, is
23
     deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B (iv)
24
     [Local Code T4] because it results from a continuance granted by
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     the Court at defendant’s request on the basis of the Court's
 1
     finding that the ends of justice served by taking such action
 2
     outweigh the best interest of the public and the defendant in a
 3

 4   speedy trial pursuant to 18 U.S.C. § 3161(h).

 5       4.   Nothing in this stipulation and order shall preclude a

 6   finding that other provisions of the Speedy Trial Act dictate that

 7   additional time periods are excludable from the period within

 8   which a trial must commence.
 9

10
         Dated: February 5, 2016              Respectfully submitted,
11
                                              /s/MICHAEL B. BIGELOW
12                                            Michael B. Bigelow
                                              Attorney for Defendant
13

14

15
                               IT IS SO STIPULATED
16

17
     DATED: February 6, 2016          /s/MICHAEL B. BIGELOW
                                      Michael B. Bigelow
18
                                      Attorney for Defendant Salazar
19

20   DATED: February 6, 2016          /s/JUSTIN LEE
                                      Justine Lee
21                                    Assistant United States Attorney

22

23

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                                       ORDER
 1
         IT IS ORDERED: that pursuant to stipulation the above matter
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     shall be continued until April 25, 2016 at 9:00 AM, and time
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 4   excluded for the reasons set forth above.

 5   Dated:   February 5, 2016

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